USCA4 Appeal: 24-6222      Doc: 14         Filed: 08/26/2024    Pg: 1 of 2




                                            UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 24-6222


        DAJADE MELBY,

                            Plaintiff - Appellant,

                     v.

        LT. RIGSBY; LT. JEAN-PIERRE,

                            Defendants - Appellees.



        Appeal from the United States District Court for the Eastern District of Virginia, at
        Richmond. John A. Gibney, Jr., Senior District Judge. (3:23-cv-00877-JAG-MRC)


        Submitted: August 22, 2024                                        Decided: August 26, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        Dajade Melby, Appellant Pro Se.


        Unpublished opinions are not binding precedent in this circuit.
USCA4 Appeal: 24-6222      Doc: 14         Filed: 08/26/2024     Pg: 2 of 2




        PER CURIAM:

               Dajade Melby appeals the district court’s order dismissing his 42 U.S.C. § 1983
        complaint without prejudice for failure to comply with court orders. We have reviewed

        the record and find no reversible error. Accordingly, we affirm the district court’s order.

        Melby v. Rigsby, No. 3:23-cv-00877-JAG-MRC (E.D. Va. Feb. 16, 2024). We deny

        Melby’s motion for an evidentiary hearing. We dispense with oral argument because the

        facts and legal contentions are adequately presented in the materials before this court and

        argument would not aid the decisional process.

                                                                                      AFFIRMED




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